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 8                              UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10

11    RICHARD BANDA,                                  Case No. 2:19-cv-00989-KJD-VCF
12                      Petitioner,                   ORDER
13           v.
14    HIGH DESERT STATE PRISON, et al.,
15                      Respondent.
16

17          Respondents having filed an unopposed motion for enlargement of time (first request)

18   (ECF No. 45), and good cause appearing;

19          IT THEREFORE IS ORDERED that respondents' unopposed motion for enlargement of

20   time (first request) (ECF No. 45) is GRANTED. Respondents will have up to and including

21   January 7, 2022, to file and serve an answer to the second amended petition.

22          DATED:
                        November 8, 2021
23                                                              ______________________________
                                                                KENT J. DAWSON
24                                                              United States District Judge
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